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                      UNITED STATES DISTRICT COURT
                            DISTRICT OF UTAH


CHELSEA CUMMINS,                       Case No.: 1:19-cv-00059-DBP

             Plaintiff,                COMPLAINT FOR DAMAGES
                                       FOR VIOLATIONS OF THE
                 v.                    FAIR DEBT COLLECTION
                                       PRACTICES ACT, 15 U.S.C. §§
                                       1692, ET SEQ.
I.C. SYSTEM, INC.
                                       Judge: Dustin B. Pead
             Defendant.
                                       JURY TRIAL DEMANDED




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      Plaintiff, CHELSEA CUMMINS (“Plaintiff”), alleges the following upon
information and belief based upon personal knowledge:
                            NATURE OF THE CASE
      1.      The United States Congress has found abundant evidence of the use
of abusive, deceptive, and unfair debt collection practices by many debt
collectors, and has determined that abusive debt collection practices contribute to
a number of personal bankruptcies, marital instability, loss of jobs, and often an
invasion of individual privacy. Congress wrote the Fair Debt Collection Practices
Act, 15 U.S.C. §§ 1692, et seq. (hereinafter “FDCPA”), to eliminate abusive debt
collection practices by debt collectors, to ensure that those debt collectors who
refrain from using abusive debt collection practices are not competitively
disadvantaged, and to promote consistent State action to protect consumers
against debt collection abuses.
      3.      Plaintiff brings this action seeking damages and any other available
legal or equitable remedies resulting from the illegal actions of defendant, I.C.
SYSTEM, INC. (“Defendant”), in negligently, knowingly, and/or willfully
contacting a represented party in an attempt to collect a debt in violation of the
FDCPA.
      4.      While many violations are described below with specificity, this
Complaint alleges violations of the statute cited in its entirety.
      5.      Unless otherwise stated, all of the conduct engaged in by Defendant
took place in Utah.
      6.      Any violations by Defendant were knowing, willful, and intentional,
and Defendant did not maintain procedures reasonably adapted to avoid any such
violations.
      7.      Unless otherwise indicated, the use of Defendant’s name in this
Complaint includes all agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and


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insurers of Defendant.
                           JURISDICTION & VENUE
      8.      This Court has federal question jurisdiction over this matter because
this action arises out of violations of the Fair Debt Collection Practices Act, 15
U.S.C. §§ 1692, et seq., which is a federal statute.
      9.      This Court has personal jurisdiction over Defendant because
Defendant conducts substantial business within this judicial district. Thus,
Defendant has sufficient minimum contacts within this State and district, and
otherwise purposefully avails itself of the markets in this State to render the
exercise of jurisdiction by this Court permissible under traditional notions of fair
play and substantial justice.
      10.     Venue is proper in the United States District Court for the District of
Utah, pursuant to 28 U.S.C. § 1391, for the following reasons: (1) a substantial
part of the events or omissions giving rise to the claims asserted herein occurred
within this judicial district; and (2) Defendant is subject to personal jurisdiction
by this Court because Defendant is incorporated in the State of Utah and regularly
conducts business within this judicial district.
                                     PARTIES
      11.     Plaintiff is a natural person residing in State of Utah, and is a
“consumer” as defined by the FDCPA, 15 U.S.C. §1692a(3).
      12.     At all relevant times herein, Defendant was a collection agency
engaged, by use of the mails and telephone, in the business of collecting a “debt”
from Plaintiff, as defined by 15 U.S.C. §1692a(5). Defendant regularly attempts
to collect debts alleged to be due by consumers, and is therefore a “debt collector”
as defined by the FDCPA, 15 U.S.C. §1692a(6).
      13.     This case involves money, property or their equivalent, due or owing
or alleged to be due or owing from a natural person by reason of a consumer
credit transaction. As such, this action arises out of a “consumer debt” and


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“consumer credit” and a “debt” as those terms are defined by 15 U.S.C.
§1692a(5).
                                FACTUAL ALLEGATIONS
       14.      Sometime before September 27, 2018, Plaintiff is alleged to have
incurred certain financial obligations.
       15.      These financial obligations were primarily for personal, family or
household purposes and are therefore a “debt” as that term is defined by 15
U.S.C. §1692a(5).
       16.      Sometime thereafter, but before September 27, 2018, Plaintiff
allegedly defaulted on the payments alleged to be owed on the alleged debt.
       17.      Subsequent to the alleged default, but before September 27, 2018,
the alleged debt was assigned, placed, or otherwise transferred, to Defendant for
collection.
       18.      Before September 27, 2018, Plaintiff reviewed her credit report and
noticed that Defendant was reporting Plaintiff’s account as a collection account.
       19.      On or about September 27, 2018, Plaintiff sent a fax to Defendant
indicating that Plaintiff was represented by her attorney, Theron Morrison,
regarding the debt in question. Plaintiff ” included Mr. Morrison’s contact
information in the fax to Defendant.
       20.      Plaintiff received a confirmation of receipt of the September 27,
2018 fax to Defendant.
       21.      Surprisingly, despite having been put on notice that Plaintiff was
represented by Mr. Morrison, Defendant sent a subsequent letter directly to
Plaintiff dated October 13, 2018 attempting to collect the same debt from
Plaintiff.
       22.      Defendant was aware that Plaintiff was represented by an attorney
before October 13, 2018.
       23.      Defendant did not send the October 13, 2018 communication to


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Plaintiff’s attorney.
      24.      In fact, Plaintiff’s attorney had no knowledge of the October 13,
2018 letter from Defendant until Plaintiff forwarded the letter to Plaintiff’s
attorney.
      25.      Through this conduct, Defendant violated 15 U.S.C. § 1692c(a)(2)
by contacting a consumer who the Defendant knew was represented by an
attorney and Defendant had contact information for Plaintiff’s attorney.
      26.      Through this conduct, Defendant used a false, deceptive, or
misleading representation or means in connection with the collection of a debt.
Consequently, Defendant violated 15 U.S.C. § 1692e and 15 U.S.C. § 1692e(10).
      27.      Through this conduct, Defendant engaged in conduct the natural
consequence of which was to harass, oppress, or abuse a person in connection
with the collection of a debt. Consequently, Defendant violated 15 U.S.C. §
1692d.
      28.      This communication to Plaintiff was a “communication” as that term
is defined by 15 U.S.C. § 1692a(2).
      29.      The October 13, 2018 letter sent by Defendant is deceiving in that it
suggests to the least sophisticated consumer that Defendant is attempting to
circumvent the protections that an attorney could provide to Plaintiff and force
Plaintiff to make an uneducated decision.
      30.      When Plaintiff read this letter, she was emotionally distraught.
      31.      Because of Defendant’s conduct, Plaintiff feels like she is in a
hopeless situation.
      32.      In drafting the FDCPA, Congress felt that it was important for
collectors to be truthful in their efforts and communications. Defendant’s failure
to contact Plaintiff through her attorney, put Plaintiff at risk for making
uninformed decisions in fear which could lead to further harm to the consumer.
      33.      Defendant’s direct contact with Plaintiff put Plaintiff at risk for


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making a decision without the advice of her attorney.
      34.      As a result of Defendants’ abusive conduct, Plaintiff suffered actual
damages in the form of mental anguish and emotional distress, which was
manifested by symptoms including but not limited to: stress, anxiety, worry,
restlessness, irritability, embarrassment, loss of sleep, feelings of hopelessness,
and helplessness all impacting his job and personal relationships.
                                  Causes of Action
                                       Count I
                   Fair Debt Collection Practices Act (FDCPA)
                              15 U.S.C. §§ 1692 et seq.
      35. Plaintiff repeats, re-alleges, and incorporates by reference, all other
            paragraphs.
      36. The foregoing acts and omissions constitute numerous and multiple
            violations of the FDCPA, including but not limited to each and every
            one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et
            seq.
      37. As a result of each and every violation of the FDCPA, Plaintiff is
            entitled to any actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
            statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. §
            1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15
            U.S.C. § 1692k(a)(3) from Defendant.
                                 Prayer For Relief
WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
Plaintiff be awarded damages from Defendant, as follows:
   • An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
   • An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
      1692k(a)(2)(A);
   • An award of costs of litigation and reasonable attorney’s fees, pursuant to


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      15 U.S.C. § 1692k(a)(3);
   36. Pursuant to the seventh amendment to the Constitution of the United States
      of America, Plaintiff is entitled to, and demands, a trial by jury.


Respectfully submitted,



Dated: June 18, 2019                          KAZEROUNI LAW GROUP

                                              By:    /s Ryan L. McBride
                                                     Ryan L. McBride, Esq.
                                                     Attorney for Plaintiff




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